                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )      Criminal No. 3:10-00247-1
                                                  )      Judge Trauger
JESSICA POTTS                                     )

                                          ORDER

       It is hereby ORDERED that the change of plea hearing on Tuesday, July 9, 2013 at 2:30

p.m. is RESET for at 1:00 p.m. on the same day.

       It is so ORDERED.

       ENTER this 8th day of July 2013.


                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




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